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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division
      In re:                                                        Case No.
                 CATHY MICKENS,                                     19-31323-KLP

                                         Debtor.                    Chapter
                                                                    7




               SUPPLEMENT TO CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK
                GLOBAL REAL ESTATE SERVICES AND DEBORAH BACCHUS OF MY
               DREAM HOME REALTY, INC. TO PROCURE CONSENTED PUBLIC SALE
                               PURSUANT TO 11 U.S.C. § 327



                     COMES NOW, Lynn L. Tavenner, Substitute Trustee, and files the Supplemental

          Chapter 7 Trustee’s Application to Retain BK Global Real Estate Services and Deborah

          Bacchus of My Dream Home Realty, Inc. to Procure Consented Public Sale Pursuant to 11

          U.S.C. § 327 (the “Application”) filed on May 15, 2019 by the former Trustee, Roy M.

          Terry and states as follows:

                1. On or about June 28, 2019, I was substituted as the Trustee in this case.

                2. Since such date I have endeavored to promptly and efficiently undertake my duties

           as Trustee and in furtherance of the same have reviewed the Application filed by Mr.

           Terry and noticed upon requested parties.

                3.   In accordance with the same, I believe it prudent to tender an order approving the

Lynn L. Tavenner, Trustee
Tavenner & Beran, PLC
20 North 8th Street, Second Floor
Richmond, Virginia 23219
Telephone: (804) 783-8300
Telecopy: (804) 783-0178

   Lynn L. Tavenner, Chapter 7 Trustee                  1
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       Application given that all objection periods have expired and no objections or requests

       for hearing were filed.

       WHEREFORE, based upon the foregoing, as the existing Trustee, I intend to move

forward with the Application process and tender an order approving the same, in order to

further the market process as delineated in the Application.


                                                     LYNN L. TAVENNER, TRUSTEE

                                                     By:       /s/ Lynn L. Tavenner
                                                               Trustee



                                 CERTIFICATE OF SERVICE

        Pursuant to the Local Rules of this Court, I certify that on this 18th day of October 2019,
a true copy of the foregoing Application was sent electronically to:

Robert B. Van Arsdale, Esquire                     Christopher John Flynn
Office of the United States Trustee                Boleman Law Firm
701 East Broad Street, Suite 4304                  PO Box 11588
Richmond, Virginia 23219-1885                      Richmond, VA 23230


And all other parties receiving ECF notices in this case.

                                                     /s/Lynn L. Tavenner
                                                     Lynn L. Tavenner, Trustee
